Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 1 of 16




                        EXHIBIT I
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 2 of 16




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN, PETR AVEN, and
 GERMAN KHAN,

                         Plaintiffs,

 v.                                                           Civil Action No. 1:17-2041-RJL

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                         Defendants.


               PLAINTIFFS’ SECOND REVISED INITIAL DISCLOSURES

       Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiffs hereby serve the following

Second Revised Initial Disclosures (“Initial Disclosures”).

                                PRELIMINARY STATEMENT

       1.       These Initial Disclosures are based upon documents, knowledge, and information

presently and reasonably available to Plaintiffs as of this date, and on the basis of documents,

knowledge, and information within their possession, custody, or control. Plaintiffs reserve and do

not waive the right to rely on any information, facts, documents, or other materials that may

subsequently come to their attention through further investigation, discovery, disclosure, or

otherwise, or the right to supplement, amend, modify, correct, or clarify these Initial Disclosures

based upon any such other and additional information, facts, documents, or other materials.

       2.       In providing these Initial Disclosures, Plaintiffs reserve and do not waive the right

to object to the relevance, authenticity, or admissibility of any information contained herein.

Plaintiffs’ Initial Disclosures are made without waiving the right to object on the grounds of

competency, privilege, relevancy, hearsay, or any other proper ground, or the right to object to the
       Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 3 of 16




use or disclosure of any information set forth herein for any purpose, in whole or in part, in this

action or outside of this action.

       3.        Plaintiffs’ Initial Disclosures are made without waiving the right to object on any

and all proper grounds to any other discovery requests, whether pursuant to the Federal Rules of

Civil Procedure, the Local Civil Rules of the United States District Court for the District of

Columbia, or otherwise.

       4.        Plaintiffs’ Initial Disclosures are being made subject to and without waiver of,

attorney-client privilege, work-product doctrine, or any other applicable privilege, protection, or

immunity from disclosure.

       5.        Each of the preceding statements in this Preliminary Statement is incorporated by

reference into each of the specific disclosures below as though fully set forth therein.

       6.        The defined terms in Plaintiffs’ Amended Complaint dated December 12, 2017

(the “Complaint”) are incorporated herein, as applicable

                                    INITIAL DISCLOSURES

Rule 26(a)(1)(A)(i): The name and, if known, the address and telephone number of each
individual likely to have discoverable information—along with the subjects of that
information—that the disclosing party may use to support its claims or defenses, unless the
use would be solely for impeachment.

1. Mikhail Fridman
  c/o Thomas A. Clare, P.C.
  Clare Locke LLP
  10 Prince Street
  Alexandria, VA 22314

       Mr. Fridman has knowledge concerning the falsity of the defamatory allegations contained

in Company Intelligence Report 112 (“CIR 112”) and the damages caused by Defendants’

publication of the defamatory statements at issue.



                                                 2
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 4 of 16




2. Petr Aven
   c/o Thomas A. Clare, P.C.
   Clare Locke LLP
   10 Prince Street
   Alexandria, VA 22314

       Mr. Aven has knowledge concerning the falsity of the defamatory allegations contained in

CIR 112 and the damages caused by Defendants’ publication of the defamatory statements at issue.

3. German Khan
   c/o Thomas A. Clare
   Clare Locke LLP
   10 Prince Street
   Alexandria, VA 22314

       Mr. Khan has knowledge concerning the falsity of the defamatory allegations contained in

CIR 112 and the damages caused by Defendants’ publication of the defamatory statements at issue.

4. Glenn Simpson
   Fusion GPS
   1700 Connecticut Avenue, NW, Suite 400
   Washington, DC 20006
   c/o Joshua A. Levy
   Levy Firestone Muse LLP
   1701 K Street, NW, Suite 350
   Washington, DC 20006

       Upon information and belief, Mr. Simpson has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

5. Peter Fritsch
   Fusion GPS
   1700 Connecticut Avenue, NW, Suite 400
   Washington, DC 20006
   c/o Joshua A. Levy
   Levy Firestone Muse LLP
   1701 K Street, NW, Suite 350
   Washington, DC 20006

       Upon information and belief, Mr. Fritsch has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

                                               3
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 5 of 16




defamatory allegations.

6. Jacob Berkowitz
   c/o Joshua A. Levy
   Levy Firestone Muse LLP
   1701 K St. NW, Suite 350
   Washington, DC 20006

       Upon information and belief, Mr. Berkowitz has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

7. Jason Felch
   c/o Joshua A. Levy
   Levy Firestone Muse LLP
   1701 K St. NW, Suite 350
   Washington, DC 20006

       Upon information and belief, Mr. Felch has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

8. Nellie Ohr
   c/o Joshua Berman, Esq.
   Clifford Chance, LLP
   2001 K Street NW
   Washington, DC 20006

       Upon information and belief, Mr. Ohr has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

9. Christopher Steele
   Orbis Business Intelligence Ltd.
   9-11 Grosvenor Gardens
   London SW1W 0BD
   United Kingdom

       Upon information and belief, Mr. Steele has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

                                              4
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 6 of 16




defamatory allegations.

10. Christopher Burrows
    Orbis Business Intelligence Ltd.
    9-11 Grosvenor Gardens
    London SW1W 0BD
    United Kingdom

       Upon information and belief, Mr. Burrows has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

11. Democratic National Committee
    c/o Graham M. Wilson
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005

       Upon information and belief, a representative of the Democratic National Committee has

knowledge concerning the publication of the defamatory allegations contained in CIR 112 and the

Defendants’ fault in publishing those defamatory allegations.

12. HFACC, Inc.
    c/o Graham M. Wilson
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005

       Upon information and belief, a representative of HFACC, Inc. has knowledge concerning

publication of the defamatory allegations contained in CIR 112 and the Defendants’ fault in

publishing those defamatory allegations.

13. Marc Elias
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005
    c/o Stephen A. Best
    Brown Rudnick LLP
    601 Thirteenth St NW, Suite 600
    Washington, DC 20005


                                               5
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 7 of 16




       Upon information and belief, Mr. Elias has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations

14. Michael Sussmann
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005
    c/o Stephen A. Best
    Brown Rudnick LLP
    601 Thirteenth St NW, Suite 600
    Washington, DC 20005

       Upon information and belief, Mr. Sussmann has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations

15. Robert Mook
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005

       Upon information and belief, Mr. Mook has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations

16. Igor Danchenko
    c/o Mark Schamel
    Womble Bond Dickinson (US) LLP
    1200 Nineteenth Street, N.W. Washington, DC 20036

       Upon information and belief, Mr. Danchenko has knowledge concerning the publication

of the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations

17. David Kramer
    c/o Marcos D. Jimenez, Esq.
    Marcos D. Jimenez P.A.


                                               6
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 8 of 16




   255 Alhambra Circle, Suite 800
   Coral Gables, FL 33134

       Upon information and belief, Mr. Kramer has knowledge concerning the publication of the

defamatory allegations contained in CIR 112.

18. Jonathan Winer
    Middle East Institute
    1763 N Street, NW
    Washington, DC 20036
    c/o Lee Wolosky
    Jenner & Block LLP
    919 Third Avenue
    New York, NY 10022-3908

       Upon information and belief, Mr. Winer has knowledge concerning the publication of the

defamatory allegations contained in CIR 112.

19. Bruce Ohr
    U.S. Department of Justice
    950 Pennsylvania Avenue, NW
    Washington, DC 20530

       Upon information and belief, Mr. Ohr has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

20. Edward Baumgartner
    c/o Edward Austin Limited
    4 Old Park Lane
    London W1K 1QW
    United Kingdom

       Upon information and belief, Mr. Baumgartner has knowledge concerning publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations

21. Sir Andrew Wood
    c/o RPC
    Tower Bridge House
    St Katharine’s Way

                                               7
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 9 of 16




   London E1W 1AA
   United Kingdom

       Upon information and belief, Sir Andrew Wood has knowledge concerning publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

22. Daniel Jones
    c/o William W. Taylor III
    Zuckerman Spaeder
    1800 M Street, NW, Suite 1000
    Washington, DC 20036

       Upon information and belief, Mr. Jones has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

23. Tracy Schmaler
    Kivvit
    1100 G Street NW, Suite 350
    Washington, DC 20005
    c/o Sara Kropf, Esq.
    Kropf Moseley PLLC
    1100 H Street NW, Suite 1220
    Washington, DC 20005

       Upon information and belief, Ms. Schmaler has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

24. Ken Bensinger
    Miriam Elder
    Mark Schoofs
    BuzzFeed, Inc.
    111 E. 18th Street, 13th Floor
    New York, NY 10003 701 First Avenue

       Upon information and belief, these BuzzFeed employees have knowledge concerning

publication of the defamatory allegations contained in CIR 112 and the Defendants’ fault in



                                             8
     Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 10 of 16




publishing those defamatory allegations.

25. Ben Smith
    The New York Times Company
    620 Eighth Avenue
    New York, NY 10018

       Upon information and belief, Mr. Smith has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

26. Michael Isikoff
    Yahoo! News
    701 First Avenue
    Sunnyvale, CA 94089

       Upon information and belief, Mr. Isikoff has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

27. David Corn
    Mother Jones
    P.O. Box 584
    San Francisco, CA 94104

       Upon information and belief, Mr. Corn has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

28. Evan Perez
    Jim Sciutto
    Jake Tapper
    Carl Bernstein
    CNN
    820 First Street, NE
    Washington, DC 20001

       Upon information and belief, Messrs. Perez, Sciutto, Tapper, and Bernstein have

knowledge concerning publication of the defamatory allegations contained in CIR 112 and the



                                            9
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 11 of 16




Defendants’ fault in publishing those defamatory allegations.

29. Jane Mayer
    New Yorker
    1 World Trade Center
    New York, NY 10006

       Upon information and belief, Ms. Mayer has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

30. The Washington Post
    1301 K Street, NW
    Washington, DC 20071

       Upon information and belief, a representative of The Washington Post has knowledge

concerning publication of the defamatory allegations contained in CIR 112 and the Defendants’

fault in publishing those defamatory allegations.

31. The New York Times Company
    620 Eighth Avenue
    New York, NY 10018

       Upon information and belief, a representative of The New York Times has knowledge

concerning publication of the defamatory allegations contained in CIR 112 and the Defendants’

fault in publishing those defamatory allegations.

32. Eric Lichtblau
    8023 Summer Mill Ct.
    Bethesda, MD 20817

       Upon information and belief, Mr. Lichtblau has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

33. Oleg Govorun
    Address Not Known

       Upon information and belief, Mr. Govorun has knowledge concerning the falsity of the

                                                10
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 12 of 16




defamatory allegations contained in CIR 112.

34. Ed Rogers
    BGR Group
    601 13th Street, NW
    Washington, DC 20005

       Upon information and belief, Mr. Rogers has knowledge concerning the falsity of the

defamatory allegations contained in CIR 112 and the damages caused by Defendants’ publication

of the defamatory statements at issue.

35. Richard Burt
    McLarty Associates
    900 17th Street, NW, Suite 800
    Washington, DC 20006

       Upon information and belief, Ambassador Burt has knowledge concerning the falsity of

the defamatory allegations contained in CIR 112 and the damages caused by Defendants’

publication of the defamatory statements at issue.

36. Alexey Sergeyevich Dundich
    See enclosed addendum

       Upon information and belief, Mr. Dundich has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

37. Ivan Ivanovich Kurilla
    See enclosed addendum

       Upon information and belief, Mr. Kurilla has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

38. Ivan Mikhailovich Vorontsov
    See enclosed addendum

       Upon information and belief, Mr. Vorontsov has knowledge concerning the falsity of the



                                               11
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 13 of 16




defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

39. Lyudmila Nikolayevna Podobedova
    See enclosed addendum

       Upon information and belief, Ms. Podobedova has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

40. Olga Aleksandrovna Galkina
    See enclosed addendum

       Upon information and belief, Ms. Galkina has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

41. Sergey Vladimirovich Abyshev
    See enclosed addendum

       Upon information and belief, Mr. Abyshev has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

Rule 26(a)(1)(A)(ii): A copy—or a description by category and location—of all documents,
electronically stored information, and tangible things that the disclosing party has in its
possession, custody, or control and may use to support its claims or defenses, unless the use
would be solely for impeachment.

       Plaintiffs expect that the primary evidence relating to the publication of the defamatory

allegations contained in CIR 112 and the Defendants’ fault in publishing those defamatory

allegations will be supplied by Defendants and third parties, through documents and testimony.

Plaintiffs have limited documents that will be used to support their claims, which are generally

located, and are being preserved, in London, England by representatives for Plaintiffs. These

materials relate primarily to the falsity of the defamatory allegations.

                                                 12
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 14 of 16




Rule 26(a)(1)(A)(iii): A computation of each category of damages claimed by the disclosing
party—who must also make available for inspection and copying as under Rule 34 the
documents or other evidentiary material, unless privileged or protected from disclosure, on
which each computation is based, including materials bearing on the nature and extent of
injuries suffered.

       Plaintiffs’ damages have not been computed at this time. Plaintiffs seek presumed damages

and general damages for harm to their reputations and for emotional harm, as well as punitive

damages, in amounts to be proven at trial, but more than $75,000, together with interest and the

costs and disbursements of this action, plus reasonable attorneys’ fees. At trial, Plaintiffs will rely

on testimony from themselves and/or third parties1 to show the wide dissemination of the

defamatory statements, and how the defamatory statements damaged Plaintiffs’ reputations,

affected Plaintiffs in their personal relationships, and caused Plaintiffs emotional stress.

Rule 26(a)(1)(A)(iv): For inspection and copying as under Rule 34, any insurance agreement
under which an insurance business may be liable to satisfy all or part of a possible judgment
in the action or to indemnify or reimburse for payments made to satisfy the judgment.

       Not Applicable.




1
  Those third parties include Ed Rogers and Richard Burt. To the extent Plaintiffs will present
testimony of additional third parties with respect to damages, Plaintiffs will promptly identify such
third parties.


                                                  13
    Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 15 of 16




Dated: June 21, 2021                Respectfully submitted,

                                      /s/ Thomas A. Clare, P.C.
                                    Thomas A. Clare, P.C. (DC Bar No. 461964)
                                    Elizabeth M. Locke, P.C. (DC Bar No. 976552)
                                    Joseph R. Oliveri (DC Bar No. 994029)
                                    Andrew C. Phillips (DC Bar No. 998353)
                                    CLARE LOCKE LLP
                                    10 Prince Street
                                    Alexandria, VA 22314
                                    Tel: (202) 628-7400
                                    tom@clarelocke.com
                                    libby@clarelocke.com
                                    joe@clarelocke.com
                                    andy@clarelocke.com

                                    Counsel for Plaintiffs Mikhail Fridman,
                                    Petr Aven, and German Khan




                                    14
      Case 1:17-cv-02041-RJL Document 176-12 Filed 03/15/22 Page 16 of 16




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the forgoing document was served by

email on all counsel of record on June 21, 2021.


   Dated: June 21, 2021                             By: /s/ Thomas A. Clare, P.C.
                                                          Thomas A. Clare, P.C.




                                               15
